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               I am writing to follow-up and pr�>vide further background on the letter you received from my
               counsel xxxx, Esq. of xxx dated Apri I 16, 2019. As you know from our • I prior discussions, there

               are· a number of issues that have arisen since October 2018 that have raised compliance issues for
               the tmst including:

               -the pre-payment of mo11gages and penalties on Swiss commercial properties without the prior
               notice or approval of the Trustee;

               �failure to meet capital calls from OEP and RizviTraverse on a timely basis which led to the
               return of funds sent to OEP and a letter from OEP withdrawing the tmst from the fund on the
               grounds.of failure to comply with anti-money launde.rin,g due diligence;
                -the resignation of Morgan Stanley as fund administrator to Mantle Ridge and Ernst & Young's          ·11:·


                refusal to provide ar1 audit to the fund which has led Mantle Ridge to terminate our investment
            • • early and to attempt to return that investment to the trust;

                 -Mantle Ridge's request to OFAC for written confirmation that the trust is not blocked property
               . that has gone unanswered to this point; and
              • -communications with investment managers bypassing the primary trustee causing concerns by
                third party investment managers that the trust is not following appropriate compliance
                procedures.
               We now find ourselves in a situation where certain important transactions on behalf of the trust
               are not moving forward. Morgan Stanley and Mantle Ridge will not return the investments
               without further assurances that the trust is .not blocked property. The Administrative Trustee has
               failed to open bank accounts to permit Mantle Ridge and RizviTraverse to transfer investment
               returns back to the trust so approximately $100 million in liquidity remains in limbo.

                  To address these issues. and the increasingly challenging political and regulatory environment
                  surrounding U.S. sanctions on Russian ent.ities and individuals, I retained xxxx to provide an
                  assessment of the current situation and advice on necessary steps to keep the trust compliant and
                . protect the interests of the family. As you know, xxx is a highly-regarded and very experienced
                  lawyer in this area and we are confident that an opinion from him that the tmst is compliant with
                  O1-"'AC sanctions (subject to additional recommendations he may make) wiJI satisfy third party
                  investment managers such as Mantle Ridge that funds can be transferred back to the trust and
             •. also allow the administrative trustee to open accounts to complete pending transactions with
               • investment managers.
                  Of course, protecting the trust will require full and strict compliance by all parties involved with
                  the existing compliance procedures and any additional procedures x..xx may recommend. That is
                . why I asked xxxx to send the letter of April 16 to remind everyone of these critical obligations. I
              • am also enclosing with this letter a more in-depth summary of the relevant O1'"'AC regulations and
              · how they relate to the trust that xxxxx has provided to me. I request that everyone involved or
                  related to the tmst familiarize themselves with this summary. I wm be requesting that all parties
                  involved with the establishment and administration of the trust represent that they have read the
              . summary and warrant that they agree to adhere to policies necessary to comply with the
               . regulations
                    ...      .
                               discussed in the summary.
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                Given OFAC' s failure to confirm the status of the trust in writing to Mantle Ridge, the Primary
              . Trustee, Administrative Trustee and investment managers will be relying on the· legal opinion
                from xxxx to continue to oversee and administer the trust This will require aYl parties involved
                in the trust to remain fully compliant. Recently, I have become generally aware ·of a potential
                dispute with the trust that could raise serious compliance issues and result in adverse collateral
                consequences to the trust. I believe it is in the best interest of the trust to attempt to resolve this
                dispute so that the trust can remain compliant while the legal review is pending. I have asked
                xxx, as counsel to your son, to discuss these issues in his upcoming trip to Mosc?W- •
